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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

SFA SYSTEMS, LLC,                                            Civil Action No. 6:11-cv-00052-LED
                                                             [LEAD CASE]
                       Plaintiff,
       v.                                                    Consolidated with

AMAZON.COM, INC., et al.                                     Civil Action No. 6:11-cv-00398-LED

                               Defendants.



                        ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of plaintiff SFA Systems, LLC (“SFA”) and
defendant Amazon.com, Inc.’s (“Amazon”) Joint Motion for Dismissal With Prejudice, and the
Court being of the opinion that said motion should be GRANTED, it is hereby:

        ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit by SFA
     .
against Amazon, are hereby dismissed with prejudice, and accordingly all related counterclaims
and affirmative defenses are also dismissed with prejudice, subject to the terms of that certain
agreement entitled “CONFIDENTIAL SETTLEMENT AND LICENSE AGREEMENT”
dated November 26, 2013. Amazon retains the right to challenge validity, infringement, and/or
enforceability of the patents-in-suit, via defense or otherwise, in any future suit or proceeding.
        It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that
incurred them.
          SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 26th day of December, 2013.
